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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

      EVA GAMAIUN,

             Plaintiff,                                    Case No.: 1:24-cv-00869

      v.                                                   Judge John J. Tharp, Jr.

      THE PARTNERSHIPS AND                                 Magistrate Judge Gabriel A. Fuentes
      UNINCORPORATED ASSOCIATIONS
      IDENTIFIED ON SCHEDULE “A”,

             Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

              NO.                                     DEFENDANT
               24                                     ZhaoYangJiaJu
               83                                    Yuan Ming Artist
               81                                     ChenXinJiaFang
               99                                      Be in fashion
               73                                        XUANLEI
               79                                         RESHI
               80                                      SHome Love
               101                                        mxi-best
               68                                        AYQ Art
               85                                          Miyar
               62                              FIYO DIY Diamond Painting
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DATED: March 21, 2024                      Respectfully submitted,

                                           /s/ Keith A. Vogt
                                           Keith A. Vogt (Bar No. 6207971)
                                           Keith Vogt, Ltd.
                                           33 W. Jackson Blvd., #2W
                                           Chicago, Illinois 60604
                                           Telephone:312-971-6752
                                           E-mail: keith@vogtip.com

                                           ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on March 21, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
